Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 1 of 8




                        Exhibit P
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 2 of 8




                                    89-7267
            Itinittb Olsten Tend of Appeals
                             For the Second Circuit




                   AUTOMOBILE CLUB OF NEW YORK, INC.
                     and AAA CLUBS OF NEW JERSEY,
                                                     Plaintiffs-Appellants,
                                      against

            THE PORT AUTHORITY OF NEW YORK AND NEW
            JERSEY, PHILIP D. KALTENBACHER, ROBERT F. WAGNER,
            RICHARD C. LEONE, JAMES G. HELLMUTH, HENRY F.
            HENDERSON, JR., WILLIAM K. HUTCHISON, H. CARL
            McCALL, JOHN G. McGOLDRICK, WILLIAM J. RONAN,
            HOWARD SCHULMAN, ROBERT VAN BUREN, HAZEL
            FRANK GLUCK, as Commissioners of the Port Authority of New
            York and New Jersey,
                                                    Defendants-Appellees.

               On Appeal from the United States District Court
                   for the Southern District of New York




                 BRIEF OF PLA1NTIFFS-APPELLANTS
                AUTOMOBILE CLUB OF NEW YORK, INC.
                AND AAA CLUBS OF NEW JERSEY



                                           KISSAM & HALPIN
                                          909 Third Avenue
                                     New York, New York 10022
                                            (212) 949-1010
                                   Attorneys for Plaintiffs-Appellants
                                  Automobile Club of New York, Inc.
                                    and AAA Clubs of New Jersey

            Of Counsel:
                ANTHONY S. GENOVESE
                DENNIS J. CROSSLEY
                JOHN D. D'ERCOLE
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 3 of 8




                 UNITED STATES COURT OF APPEALS
                     FOR THE SECOND CIRCUIT


                              89-7267

          AUTOMOBILE CLUB OF NEW YORK, INC.
          and AAA CLUBS OF NEW JERSEY,
                                        Plaintiffs-Appellants,
                            -against-
          THE PORT AUTHORITY OF NEW YORK AND NEW JERSEY,
          PHILIP D. KALTENBACHER, ROBERT F. WAGNER,
          RICHARD C. LEONE, JAMES G. HELLMUTH, HENRY
          F. HENDERSON, JR., WILLIAM K. HUTCHISON, H.
          CARL McCALL, JOHN G. McGOLDRICK, WILLIAM J.
          RONAN, HOWARD SCHULMAN, ROBERT VAN BUREN,
          HAZEL FRANK GLUCK, as Commissioners of the
          Port Authority of New York and New Jersey,
                                        Defendants-Appellees.


       On Appeal from the United States District Court
            for the Southern District of New York


                BRIEF OF PLAINTIFFS-APPELLANTS
               AUTOMOBILE CLUB OF NEW YORK, INC.
                  AND AAA CLUBS OF NEW JERSEY


                      PRELIMINARY STATEMENT

          When Congress consented to the construction of the
Port Authority of New York and New Jersey's ("Port Authority")
four interstate bridges, it did so on the condition that bridge
tolls be just and reasonable. In Auto. Club of New York, Inc.
v. Cox, 592 F.2d 658 (2d Cir. 1979)(Friendly, J.), this court
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 4 of 8




                             POINT IV
                 THE ELEVENTH AMENDMENT DOES NOT
                   BAR AN ACTION AGAINST PORT
                AUTHORITY CHALLENGING THE JUSTNESS
                AND REASONABLENESS OF BRIDGE TOLLS

           Before Congress passed the Highway Act, 33 U.S.C. §
508, which created subject matter jurisdiction in the "courts"
to determine the justness and reasonableness of tolls over
bridges subject to the Bridge Act, exclusive jurisdiction over
such determinations was vested in the Secretary of
Transportation pursuant to 33 U.S.C. § 494, amendedla 33
U.S.C. §508. 17 The Secretary of Transportation delegated this
exclusive federal function to the Administrator. See Cox,
supra, 592 F.2d at 661.
           Under the Bridge Act, a comprehensive federal
regulatory scheme was set up to adjudicate challenges to bridge
tolls, with judicial review of determinations made by the
Administrator exclusively in the federal court under the APA.
See 5 U.S.C. § 702 18 ; Beeman v. Olson, 828 F.2d 620, 621 (9th



     17 Congress consented to the construction of the Port
Authority's four bridges upon the express condition that they
be operated and maintained in accordance with the Bridge Act.
See Stipulation I at ¶ 9, J.E. 3.
     18
        5 U.S.C. 5 702 provides in relevant part: "A person
suffering legal wrong because of agency action ... is entitled
to judicial review thereof. An action in a rourt of tne United
States seeking relief other than money damages ... shall not be
                                             (Footnote Continued)
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 5 of 8




 Cir. 1987); Aminoil U.S.A., Inc. v. Cal. State, Etc., 674 F.2d
  1227, 1233 (9th Cir. 1982) (A state may entertain an action
 against officers of the federal government only if the United
 States consented to suit. "'The consent to suit [set forth in
 § 702 of the APA] is limited to claims in the Courts of the
 United States; hence the United States remains immune from suit
 in state courts'"); see, e.g., Cox, supra.
            Congress necessarily abrogated any Eleventh Amendment
 immunity that the Port Authority may have had in expressly
 subjecting "persons" to the Bridge Act's mandate that tolls be
 just and reasonable. See 33 U.S.C. § 497. "Persons" include
 "municipalities, quasi municipal corporations, corporations,
 companies, and associations." Id. The Port Authority has been
 variously characterized as a "'person,'" "'the municipal cor-
 porate instrumentality of the two states for the purpose of
 developing the port and effectuating the pledge of the states
 in the said compact,'" and a °`body corporate and politic.'"
 See Port Auth. Police Ben. Ass'n v. Port Auth. of N.Y., 819
 F.2d 413 (3rd Cir.), cert. denied,        U.S.    , 108 S.Ct. 344
  (1987); see also Bush Terminal Co. v. City of New York, 282
 N.Y. 306, 319 (1940); People v. Breslow, 39 Misc.2d 576, 577
 (Sup. Ct., N.Y.Cty. 1963). Clearly, the Port Authority under




 (Footnote Continued)
 dismissed on the ground that it is against the United
 States...."
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 6 of 8




 these authorities is either a "person" or a "quasi municipal
 corporation" under the Bridge Act. Indeed, in regulations
 promulgated by FHWA, "Respondent" was expressly defined as "the
 person or agency of a state or a political subdivision of a
 state, which has responsibility for establishing or collecting
 a toll, the rate or duration of which is alleged to be
 unreasonable, unjust, or both." See 49 C.F.R. § 310.2 (1985),
 repealed   Li   33 U.S.C. § 508. This definition of Respondent is
 clearly an indication that the majority of bridge owners was
 recognized to be states or a political subdivision of a state,
 yet they were subjected to suit in federal court under the
 Bridge Act and the APA.
            Given Congress' reservation of bridge toll
 determinations under the Bridge Act exclusively as a federal
 function, with review exclusively in the federal courts under
 the APA, it must be presumed that these determinations would
 continue to be made in the federal domain after passage of the
 Highway Act. Indeed, this interpretation is one apparently
 adhered to by the State of New York. In a Final Report On The
 Verrazano-Narrows Bridge Tolls, dated May 1, 1987, the New York
 State Department of Transportation concludes in its review of
 the Federal Bridge Acts under the Highway Act amendment: "The
 U.S. Department of Transportation will no longer determine
whether tolls are just and reanable. Instead the Federal
Court will make such a determination when tolls are
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 7 of 8




 challenged". See Defendants' Exhibit A, J.E. 494 (emphasis
 added).
           Congress' prior abrogation of the states' Eleventh
 Amendment immunity within the comprehensive federal regulatory
 scheme enacted to assure the justness and reasonableness of
 bridge tolls, with review exclusively in the federal court,
distinguishes this case from cases such as Welch v. Dep't of
 Highways & Public Transp., 483 U.S.        , 107 S.Ct. 2941
 (1987). In that case no such comprehensive federal regulatory
 scheme governing the exclusive adjudication of claims existed
under the federal statutes involved. Thus, while Welch may
 stand for the principle that Congressional abrogation of
Eleventh Amendment immunity must be expressed in "unmistakable
statutory language," Welch, supra, at 398, it does not address
the situation where Congress prior to passage of a statute
creating subject matter jurisdiction in the courts, had
abrogated the states' Eleventh Amendment immunity by subjecting
them to proceedings before a federal agency with review
exclusively in the federal court. For these reasons, Clallam
Cty. v. Dept. of Transp. State of Wash., 849 F.2d 424 (9th Cir.
1988), is also inapposite. Accordingly, the district court's
dismissal of th Auto Clubs' Amended Complaint against the Port
Authority should be reversed.
Case 1:11-cv-06746-RKE-HBP Document 151-16 Filed 08/21/15 Page 8 of 8




                            CONCLUSION
            For the foregoing reasons, it is respectfully
submitted that the district court erred in finding that the
Port Authority's 1987 toll increase was just and reasonable
and, accordingly, the judgment entered below should be
reversed.


Dated: New York, New York
        April 26, 1989

                                Respectfully submitted,
                                KISSAM & HALPIN


                                By:    a "—
                                    A Member o the Firm
                                909 Third Avenue   .
                                New York, New York 10022
                                (212) 949-1010
                                Attorneys for Plaintiffs-
                                Appellants AUTOMOBILE CLUB OF
                                NEW YORK, INC. and
                                AAA CLUBS OF NEW JERSEY


Of Counsel:
Anthony S. Genovese
Dennis J. Crossley
John D. D'Ercole




                                -42-
